   Case 5:24-cv-00717-OLG-HJB                Document 95-8     Filed 05/08/25      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

                                   SAN ANTONIO DIVISION


 LOGAN PAUL,

                                Plaintiff,
        v.
                                                           Civil Action No.: 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                                Defendants.


                                      [PROPOSED] ORDER

       Upon consideration of Plaintiff’s Motion to Seal Defendants’ Motion to Transfer and Stay,

along with Exhibits D-H & J thereto, filed May 8, 2025.

       IT IS HEREBY ORDERED THAT:

       1. Plaintiff’s Motion to Seal is GRANTED.

       2. The Clerk is directed to replace the existing public versions of Defendants’ Motion to

             Transfer [Dkt. 82], and Exhibits D-H and J thereto [Dkts. 82-4, 82-5, 82-6, 82-7, 82-8,

             and 82-10] with the redacted versions submitted with Plaintiff’s Motion to Seal.



       SO ORDERED this ___________ day of ____________, 2025.




                                               _______________________________
                                               HENRY J. BEMPORAD
                                               UNITED STATES MAGISTRATE JUDGE




                                                  1
